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Special Communication

CDC Guideline for Prescribing Opioids for Chronic Pain—

United States, 2016

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IMPORTANCE Primary care clinicians find managing chronic pain challenging. Evidence of
long-term efficacy of opioids for chronic pain is limited. Opioid use is associated with serious
risks, including opioid use disorder and overdose.

OBJECTIVE To provide recommendations about opioid prescribing for primary care clinicians
treating adult patients with chronic pain outside of active cancer treatment. palliative care,
and end-of-life care.

PROCESS The Centers for Disease Control and Prevention (CDQ) updated a 2014 systematic
review on effectiveness and risks of opioids and conducted a supplemental review on
benefits and harms, values and preferences, and costs. CDC used the Grading of
Recommendations Assessment, Development, and Evaluation (GRADE) framework to assess
evidence type and determine the recommendation category.

EVIDENCE SYNTHESIS Evidence consisted of observational studies or randomized clinical trials
with notable limitations, characterized as low quality using GRADE methodology.
Meta-analysis was not attempted due to the limited number of studies, variability in study
designs and clinical heterogeneity, and methodological shortcomings of studies. No study
evaluated long-term (21 year) benefit of opioids for chronic pain. Opioids were associated
with increased risks, including opioid use disorder, overdose, and death, with
dose-dependent effects.

RECOMMENDATIONS There are 12 recommendations. Of primary importance, nonopioid
therapy is preferred for treatment of chronic pain. Opioids should be used only when benefits
for pain and function are expected to outweigh risks. Before starting opioids, clinicians should
establish treatment goals with patients and consider how opioids will be discontinued if
benefits do not outweigh risks. When opioids are used, clinicians should prescribe the lowest
effective dosage, carefully reassess benefits and risks when considering increasing dosage to
50 morphine milligram equivalents or more per day, and avoid concurrent opioids and
benzodiazepines whenever possible. Clinicians should evaluate benefits and harms of
continued opioid therapy with patients every 3 months or more frequently and review
prescription drug monitoring program data, when available, for high-risk combinations or
dosages. For patients with opioid use disorder, clinicians should offer or arrange
evidence-based treatment, such as medication-assisted treatment with buprenorphine or
methadone.

CONCLUSIONS AND RELEVANCE The guideline is intended to improve communication about

benefits and risks of opioids for chronic pain, improve safety and effectiveness of pain
treatment, and reduce risks associated with long-term opioid therapy.

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Clinicians should review PDMP data for opioids and other con-
trolled medications patients might have received from additional pre-
scribers to determine whether a patient is receiving high total opi-
oid dosages or dangerous combinations (eg, opioids combined with
benzodiazepines) that put him or her at high risk for overdose. Ide-
ally, PDMP data should be reviewed before every opioid prescrip-
tion. This is recommended in all states with well-functioning PDMPs
and where PDMP access policies make this practicable (eg, clini-
cian and delegate access permitted), but it is not currently possible
in states without functional PDMPs or in those that do not permit
certain prescribers to access them.

If patients are found to have high opioid dosages, dangerous
combinations of medications, or multiple controlled substance pre-
scriptions written by different clinicians, several actions can be taken
to augment Clinicians’ abilities to improve patient safety:

* Clinicians should discuss information from the PDMP with their
patient and confirm that the patient is aware of the additional
prescriptions.

* Clinicians should discuss safety concerns, including increased risk
for respiratory depression and overdose, with patients found to be
receiving opioids from more than 1 prescriber or receiving medi-
cations that increase risk when combined with opioids (eg, ben-
zodiazepines).

* Clinicians should avoid prescribing opioids and benzodiazepines
concurrently whenever possible. Clinicians should communicate
with others managing the patient to discuss the patient's needs,
prioritize patient goals, weigh risks of concurrent benzodiazepine
and opioid exposure, and coordinate care.

* Clinicians should calculate the total MME/d for concurrent opioid
prescriptions. If patients are found to be receiving high total daily
dosages of opioids, clinicians should discuss their safety concerns
with the patient, consider tapering to a safer dosage, and con-
sider offering naloxone.

* Clinicians should discuss safety concerns with other clinicians who
are prescribing controlled substances for their patient.

* Clinicians should consider the possibility of a substance use disor-
der and discuss concerns with their patient.

« If clinicians suspect their patient might be sharing or selling opi-
oids and not taking them, clinicians should consider urine drug test-
ing to assist in determining whether opioids can be discontinued
without causing withdrawal. A negative drug test for prescribed
opioids might indicate the patient is not taking prescribed opi-
oids, although clinicians should consider other possible reasons for
this test result.

Clinicians should not dismiss patients from their practice on the
basis of PDMP information. Doing so could result in missed opportu-
nities to provide potentially lifesaving information and interventions.

10. When prescribing opioids for chronic pain, clinicians should
use urine drug testing before starting opioid therapy and con-
sider urine drug testing at least annually to assess for prescribed
medications as well as other controlled prescription drugs and illicit
drugs. (Recommendation category: B; evidence type: 4)

Prior to starting opioids for chronic pain and periodically dur-
ing opioid therapy, clinicians should use urine drug testing to as-
sess for prescribed opioids as well as other controlled substances
and illicit drugs that increase risk for overdose when combined with
opioids, including nonprescribed opioids, benzodiazepines, and
heroin.

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In most situations, initial urine drug testing can be performed
with a relatively inexpensive immunoassay panel for commonly
prescribed opioids and illicit drugs. Patients prescribed less com-
monly used opioids might require specific testing for those
agents. The use of confirmatory testing adds substantial costs
and should be based on the need to detect specific opioids that
cannot be identified on standard immunoassays or on the pres-
ence of unexpected urine drug test results. In addition, clinicians
should not test for substances for which results would not affect
patient management or for which implications for patient man-
agement are unclear. Clinicians should be familiar with the drugs
included in urine drug testing panels used in their practice and
should understand how to interpret results for these drugs.
Before ordering urine drug testing, clinicians should explain to
patients that testing is intended to improve their safety, should
explain expected results (eg, presence of prescribed medication
and absence of drugs, including illicit drugs, not reported by the
patient), and should ask patients whether there might be unex-
pected results. Clinicians should discuss unexpected results with
the local laboratory or toxicologist and with the patient. Discus-
sion with patients prior to specific confirmatory testing can some-
times yield a candid explanation of why a particular substance is
present or absent and obviate the need for expensive confirma-
tory testing on that visit. If unexpected results are not explained,
a confirmatory test using a method selective enough to differenti-
ate specific opioids and metabolites (eg, gas or liquid
chromatography/mass spectrometry) might be warranted to
clarify the situation.

11. Clinicians should avoid prescribing opioid pain medication
and benzodiazepines concurrently whenever possible. (Recom-
mendation category: A; evidence type: 3)

Although there are circumstances when it might be appropri-
ate to prescribe opioids to a patient receiving benzodiazepines
(eg, severe acute pain in a patient taking long-term, stable low-
dose benzodiazepine therapy), clinicians should avoid prescribing
opioids and benzodiazepines concurrently whenever possible. In
addition, given that other central nervous system depressants
(eg, muscle relaxants, hypnotics) can potentiate central nervous
system depression associated with opioids, clinicians should con-
sider whether benefits outweigh risks of concurrent use of these
drugs. Clinicians should check the PDMP for concurrent con-
trolled medications prescribed by other clinicians and should con-
sider involving pharmacists and pain specialists as part of the
management team when opioids are co-prescribed with other
central nervous system depressants. When patients require
tapering of benzodiazepines or opioids to reduce risk of fatal
respiratory depression, it might be safer and more practical to
taper opioids first. Clinicians should taper benzodiazepines gradu-
ally if discontinued because abrupt withdrawal can be associated
with rebound anxiety, hallucinations, seizures, delirium tremens,
and, in rare cases, death. If benzodiazepines prescribed for anxi-
ety are tapered or discontinued, evidence-based psychotherapies
(eg, CBT) and specific antidepressants or other nonbenzodiaz-
epine medications approved for anxiety should be offered. Clini-

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ETHICAL ISSUES IN ALCOHOL AND
DRUG TESTING

Beauchamp and Childress have developed a widely used
approach to bioethical reasoning. Their four principles—
beneficence, nonmaleficence, justice, and respect for auton-
omy—provide a lens through which to examine the ethical
aspects of clinical drug testing (75).
' Beneficence refers to the ethical principle that clinicians
are obliged to act for the benefit of their patients. Drug testing
is a diagnostic tool that, when integrated with other informa-
tion, can be helpful in diagnosing, or monitoring the status
of, substance use disorders. As with every diagnostic test,
the result should be used to inform medical care and not to
| punish patients for displaying signs of a medical disorder.
Additionally—and especially for patients in the early stages
| of substance use disorder treatment—appropriate drug test
results can provide positive reinforcement, thereby support-
ing their recovery efforts (76).
Nonmaleficence refers to the ethical principle that clini-
cians should refrain from acts that may harm their patients.
, Drug testing poses a number of potential harms, the most
important of which accrue from errors in the ordering of
tests and interpretation of test results and from inappropriate
responses to test results (76). Errors of ordering and interpre-
tation are commonplace and generally result from inadequate
education (77-79). With regard to the ordering of drug tests,
the clinician should be knowledgeable about the composition
of the drug test panel and the analytical limitations of the test.
@ Drug tests are never “general” tests for ruling out the pres-
ence of one or more of the ever-increasing number of drugs
with a potential for abuse. Rather, drug tests, regardless of the
analytical technique, are directed toward a panel—and often a
very limited panel—of drugs. Thus, the clinician must be cer-
tain that the drugs of interest are represented on the panel.
Similarly, unskillful interpretation of test results, discussed in
another section of this chapter, can result in false accusations
of drug abuse or, conversely, in accusations of nonadherence
to prescribed controlled substance regimens, with resulting

inally, as medical records are increasingly likely to fol-
low patients through the healthcare system, misinformation

(such as an incorrect interpretation of test results, character-

izing patients as nonadherent with prescription instructions,
or misdiagnosing patients as having substance use disorders
on the basis of drug test results) has the potential to negatively
affect the care patients receive from future clinicians and aay
have consequences for insurance coverage (76).

The ethical principle of justice dictates that patients be
treated fairly and equitably. This means that drug testing must
be driven by patient-specific considerations, such as the risk of
development or recurrence of a substance use disorder. There
is no empirical or ethical justification for drug testing on the |
basis of patient ethnicity, race, religion, sexual orientation, or |
likeability (76). a i

The fourth ethical principle, respect for autonomy, refers
to the patient's right to self-rule, free from interference from
others or from inadequate understanding of clinical choices.
In the context of this chapter, respect for autonomy pertains
chiefly to treatment involving prescribed and nonprescribed
controlled substances.

With regard to the former, it involves discussions about
the risks, benefits, costs, and alternatives associated with the
use of medications and the rationale for the use of drug testing
as one component of monitoring the safety and effectiveness
of their administration. Such discussions typically are codi-
fied in the form of an informed consent document, a medica-
tion treatment agreement, or both. These documents should
memorialize, but not substitute for, a conversation between
the clinician and the patient.

With regard to drug testing, the conversation should
include the details of testing protocols, including the test-
ing schedule (random, scheduled, or for-cause) and testing
matrices (urine, oral fluid, or hair), but should not include
disclosure of the composition of the test panel, as this would
undermine the deterrent effects of drug testing. In the case
of urine, the discussion should include methods of collection
(unmonitored, monitored, directly observed) and behaviors
that would trigger monitored or observed collections, con-

Ultimately, some patients will not agree to such informed
consent or treatment agreements or, if they do agree, will sub-
sequently refuse a test. Again, this should prompt discussion,
but if the issue cannot be resolved, further controlled substance
prescribing generally will be contraindicated. In its place, the
clinician should design a therapeutic plan without controlled
substances or refer the patient elsewhere for care (76).

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which to evaluate the efficacy of opioid therapy as well as
reflect outcomes that are meaningful to the patient. Functional
goals might include, for example, measurable improvement in
valued activities such as taking a daily walk of a certain dura-
tion, concentrating on reading for a specific period of time, or
sitting through a church service or a movie.

Discussion of risks should be individualized based on the
patient's history and comorbidities. Among potential risks
commonly considered and cited in the informed consent por-
tion of the OTA are

® Physical side effects (eg, nausea, itching, constipation,
sweating)

m CNS side effects (eg, sedation, cognitive clouding, euphoria)

™ Respiratory effects (eg, shallow breathing, decreased
breathing rate, overdose and death)

™ Endocrine effects (eg, low testosterone, amenorrhea,
osteopenia)

@ Physiological dependence and tolerance

™ Hyperalgesia, increased pain

™ Morbidity/mortality possible with unhealthy opioid use
(including children and adolescents in the home)

™ Substance use disorder

® Risk of victimization (manipulation, theft, assault to obtain
opioids)

In addition, the recent CDC and VA/DoD guidelines sug-
gest that discussion of naloxone use for overdose reversal be
included in the informed consent component of the agree-
ment (48,49), although no studies are available of outcomes
related to naloxone prescribing to persons using opioids for
anafgesia. A small survey study of veterans on long-term opi-
oids for pain indicated that they underestimated their risk for
opioid overdose (286). Importantly, 21% reported having pre-
viously experienced an opioid overdose, and most desired a
naloxone rescue kit to enhance their safety (287).
Documentation of the plan of care is critical because opi-
oids are subject to unhealthy use and diversion, with the poten-
tial for harm to the patient and the public (288). Typically, the
plan of care includes such details as the following:

™ Management of medications, such as
O Use of a single provider (or practice) in charge of
prescriptions
& Which pharmacy will fill
tl] Process for dose/frequency changes; avoidance of self-
initiated changes
© Keeping medications secure without sharing
© Frequency of appointments and urine toxicology testing
for use of illicit substances and to confirm presence of
prescribed substances
® Expected other pain treatment activities, for example:
© Attending cognitive~behavioral groups
«Physical therapy
© Exercising independently
& Meditation/deep relaxation
® Expected participation in treatment for substance use dis-
orders, for example:

© AA or NA meetings
& Counseling
© Psychiatric care
& Avoidance of illicit or nonprescribed substances, al-
cohol, and prescribed CNS depressants in particular
benzodiazepines
® Conditions under which opioids will be continued
& Improvement in pain
© Increased function
O Ability to adhere generally to the plan of care
® Condition under which opioids will be discontinued
© Lack of progress toward goals of treatment
© Unsafe use of medications or harmful side effects

Urine Drug Monitoring

Urine drug testing (UDT) includes UDS and confirmatory
testing for unexpected or irregular results on UDS. Toxicology
testing is nowadays considered routine prior to initiating opi-
oid therapy and as part of long-term opioid treatment in order
to document use of the prescribed medication and to iden-
tify use of illicit or nonprescribed substances. UDT can pro-
vide objective information, especially important in patients
with SUDs who may be unable or unwilling to share accurate
information and have difficulty controlling their medication
use (289). An analysis within the VHA showed that veterans
on long-term opioid therapy receiving care at facilities with
more frequent ordering of urine drug screens had lower risk

of suicide attempts (290). It is critical that clinicians take care

in interpreting the results of the screen and using them to
advance the care of patients. Most screening tests are immuno-
assays that can have false positives due to cross-reaction with
other drugs and false negatives due to lack of reactivity to some
opioids and sensitivities that are too low to detect low blood
levels. Some panels do not test for a wide enough range of opi-
oids, especially synthetics and semisynthetics; thus, certain
opioids of concern to the provider will need to be separately
added for testing. Drug screening panels differ in the drugs
that are detected. Therefore, unexpected findings on a screen-
ing test should prompt confirmation usually by liquid or gas
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medication use and no aberrant behaviors, toxicology test-
ing is done randomly at a minimum of annual basis by many
experts, though a recent expert consensus panel funded by a
urine toxicology testing company recommended more fre-
quent routine screening (293). For persons at higher risk, test-
ing should be done more often, such as monthly or even mo
than weekly, especially during periods of high stress (49).

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of physical tolerance and thus is an important contributor to
patient safety.

Therapeutic drug testing also is a necessary part of long-
term prescribing of controlled medications. It is the single
most useful laboratory test to monitor adherence to the treat-
ment plan, as well as to detect the use of nonprescribed drugs
and alcohol (49,50). Drug testing is an important monitor-
ing tool because patients’ self-reports of medication use can
be unreliable and behavioral observations may detect some
problems but not others (51). Using drug testing when pre-
scribing controlled drugs is essentially the same as follow-
ing glycosylated hemoglobin levels when managing diabetes.
However, physicians need to be aware of the limitations of
available tests (such as their limited sensitivity for many
opioids) and take care to order tests appropriately (49,52).
Because of the complexities involved in interpreting drug
test results, it is advisable to verify significant or unexpected
results through confirmatory studies and consultation with
the testing laboratory's toxicologist or a clinical pathologist
(49,50)

oth the test results and
subsequent discussion with the patient should be thoroughly
documented in the medical record (49).

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Whenever the physician is concerned about a patient's
behavior or clinical progress (or the lack thereof), it is advisable
to seek a consultation with an expert in the disorder for which
the patient is being treated. If there is concern about possible
medication nonmedical use or diversion, consultation with an
expert in addiction medicine also is advised. Physicians place
themselves and their patients at risk if they continue to pre-
scribe controlled medications in the presence of concerning
patient behaviors, and addiction specialty consultation can be
very helpful in protecting both the patient and physician.

Based on the Patient’s Response, Decide
Whether to Continue, Revise, or Terminate
Medication Therapy

No treatment regimen should be left open-ended. Throughout
the course of therapy, the physician and patient should reg-
ularly weigh the potential benefits and risks of continued
treatment and determine whether such treatment remains
appropriate (32,45). Continuation, modification, or termina-
tion of medication therapy should be contingent on both (a)
evidence of the patient's progress toward the established treat-
ment objectives and (b) the absence of substantial risks or
adverse events (53-55) (see Table 117-1).

A satisfactory response to treatment would be indicated by
reduced severity of symptoms, increased level of function, and/
or improved quality of life (41) in the absence of dangerous or

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Appropriate Use

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Use of a controlled substance as
prescribed for a defined condition
with no signs of nonmedical use
or substance use disorder.

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“A 10-day course of

postoperative opioids, taken as
prescribed.

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Explain in advance to the
patient that opioids will be
used for only a limited time.

Nonmedical Use Use of a controlled substance for A single episode of an Educate the patient about
a reason other than that for which | opioid used twice as often proper use of the medication.
it was prescribed or in a dosage as prescribed.Use of an old
different than that prescribed. prescription for a new Clinical
No pattern of misuse leading to problem without consulting a
disability or dysfunction. physician.
Prescription Medication | Use of a controlled substance Continued nonmedical use Express concern in an empathic
Use Disorder outside the normally accepted despite interventions. Use of an manner.Discontinue the
standards of use, resulting in opioid for recreational purposes medication.Consult with an
disability and/or dysfunction, unrelated to a medical condition. | expert (eg, on addiction or pain
and meeting DSM-5 criteria for a management).
substance use disorder.
Catastrophic Use Use of a controlled substance ina Altering a prescription or selling Immediately stop prescribing
manner that involves illegal activity | acontrolled substance.Overdose —_ any controlled substances.
or places the patient at risk of of a controlled substance. Consult with an expert
immediate harm. in addiction medicine or

addiction psychiatry. Notify legal
authorities if indicated.

Postgrad Med. 2005;118:19.

Source: Data adapted from Isaacson JH, Hopper JA, Alford DP et al. Prescription drug use and abuse: risk factors, red flags, and prevention strategies.

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A Review of Buprenorphine Diversion and Misuse: The Current
Evidence Base and Experiences from Around the World

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Abstract

Outpatient opioid addiction treatment with sublingual buprenorphine pharmacotherapy (OBOT)
has rapidly expanded in the United States and abroad, and, with this increase in medication
availability, there have been increasing concerns about its diversion, misuse and related harms.
This narrative review defines the behaviors of diversion and misuse, examines how the
pharmacology of buprenorphine alone and in combination with naloxone influence its abuse
liability, and describes the epidemiological data on buprenorphine diversion and intravenous
misuse, risk factors for its intravenous misuse and the unintended consequences of misuse and
diversion. Physician practices to prevent, screen for, and therapeutically respond to these
behaviors, which are a form of medication non-adherence, are discussed and gaps in knowledge
are identified. OBOT experiences from other countries that have varied health care systems, public
policies, and access to addiction treatment are shared in order to make clear that diversion and
misuse occur across the world in various contexts, for many different reasons, and are not limited
to buprenorphine. Comparisons are made with other opioids with known abuse liability as well as
medications with no known abuse. The objective is to facilitate understanding of diversion and
misuse so that all factors influencing their expression (patient and provider characteristics and
public policy) can be appreciated within a framework that also recognizes the benefits of addiction
treatment. With this comprehensive perspective, further careful work can help determine how to
minimize these behaviors without eroding the current benefits realized through improved
addiction treatment access and expansion.

Keywords

buprenorphine; misuse; diversion; treatment; epidemiology; behavioral pharmacology

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decreasing relapse, one must become interested also in medication adherence. Thus,
assessment for misuse and diversion is recommended at each clinical visit with placement of
these behaviors on patients’ problem list so they can be addressed therapeutically, rather
than punitively.

| (National Consensus Development Panel on Effective Medical
Treatment of Opiate Addiction, 1998; Carrieri et al., 2006). For example, a recent study
compared three groups of injection drug users receiving needle-exchange services in

Norway: 1) persons currently in addiction treatment with methadone or buprenorphine
(n=341); 2) persons with no prior treatment with these medications (n=1063); and 3) persons
who had prior, but not current, treatment with these medications (n=356). Those currently in
treatment, despite continued IVDU, had significantly fewer non-fatal overdoses (O.R.=0.5),
committed fewer thefts (O.R.=0.6) and reported dealing drugs (O.R.=0.7) less often in the
prior month. They were also less likely to use heroin daily or near daily (O.R.=0.3)
compared to the other groups that were not in treatment (Gjersing and Bretteville-Jensen,
2013). This does not imply that physicians must accept and do nothing about medication
misuse and diversion or that they should continue to prescribe buprenorphine to patients
who are distributing it to others rather than taking it themselves. Rather, the point is that
treatment can be beneficial even if the ideal outcome is not attained (e.g., 100% medication
adherence and abstinence from all substances of abuse). The goal is to evaluate treatment
benefits and harms for each patient, individualizing the treatment plan in order to minimize
harms without adversely affecting the benefits provided.

Reasons for buprenorphine diversion and misuse while in OBOT are listed in Table 1. Once
providers understand the context and circumstances around these behaviors, practical
solutions can be formulated. For instance, for a patient who encounters drug dealers every
month at the pharmacy where they fill their prescription and are pressured to sell their
medication, a recommendation to change pharmacies and assistance with finding financial
help may be welcome if the medication is being sold to pay off old debts. For patients
unable to escape from drug-addicted social networks, it may be helpful to discuss the option
of maintaining a secretive status regarding having medication (Havnes et al., 2013).

Patients may not disclose medication misuse and diversion; however, some clinical practice
behaviors (see Table 2), such as monitoring urine drug test outcomes, including for
buprenorphine, are recommended and may be helpful. Inexpensive CLIA-waived urine tests
for buprenorphine are now readily available in the U.S. In a cross-sectional study in India,
14% and 34% of patients receiving BUP/NX and BUP, respectively, tested negative for
buprenorphine on random observed urine testing (Balhara and Jain, 2012). A test that is
positive for buprenorphine but negative for its primary metabolite, norbuprenorphine, would
also be incongruent with daily medication use. Admittedly, urine drug testing has limited
practical use in detecting intermittent non-adherence due to the long half-life of

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is a high level of concern about such behaviors, monitoring
may require relatively frequent visits, regular assessment of
significant others who can provide observations about
patients’ drug use, and periodic urine drug screens.

” Urine drug screening can facilitate the early recognition
of aberrant drug-related behaviors in patients wh been
actively abusing drugs in the Tecent Past. Urine should be

cre 1 iprescribed drugs. The
patient should be fully informed about this approach, which

plaine ritoring that
reassuring to the clinician and thereby facilitate aggressive
symptom-oriented treatments. The patient should also be
apprised of the clinician’s response to ee screens. This
ly entails iner

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smaller quantities « Scie drags, ar
_ of repeated violations, referral for concurrent drug rehabilita-
tion may be the most appropriate course. If the abuse is
extreme, ongoing analgesic treatment cannot be justified.

In some cases the approach to monitoring may best be
accomplished through the use of a written contract. This con-
tract, which is kept in the medical record, defines the drug
regimen, explicitly states the responsibilities of both the
patient and the clinician, and stipulates the consequences of
aberrant drug use. These guidelines should include specific
reference to the methods that will be used to renew prescrip-
tions and the response to the report of lost or stolen drugs.

Patients who protest the use of urine drug screens or con-
tracts may be unwilling or unable to enter a collaborative rela-
tionship in which the clinician can be confident of responsi-
ble drug taking by the patient and the patient can be confident
that the clinician will respond to unrelieved symptoms with
aggressive therapies. Such patients may not be candidates for
treatment with abusable drugs.

Other Aspects of Patient Monitoring and Education

Patients must be given detailed instructions about the
parameters of responsible drug taking. The goal is to prevent
the use of illicit drugs, if possible, and to eliminate abuse of
the prescribed drug regimen. Patients suspected of aberrant
drug use must be seen frequently. Weekly visits are common
initially. Frequent visits help establish close ties with staff,
allow evaluation of both symptom control and addiction-
related concerns, and allow the prescription of small quanti-
ties of drugs, which may diminish the temptation to misuse
and provide an incentive for keeping appointments.

For patients who are considered to be at high risk for aber-
rant behavior, the clinician’s response to “lost” prescriptions,
requests for early refills, and other aberrant behaviors should
be decided in advance, to the extent possible, and clearly
explained to the patient. There can be no prescription
renewals if appointments are missed. The patient should be
told that dose changes require prior contact with the clinician
or designee. It may be useful to reassure the patient that dose

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escalation of drugs used for symptom control is common ae |
acceptable, if the clinical evaluation supports this course and
the patient deals with the need for a change in drug regimen
without relying on aberrant behaviors. nud

The rigidity of the plan to deal with “lost” prescriptions or
the need for early refills due to unsanctioned dose escalation
again oo on the clinician’ s assessment of the degree of

oid conflicts after hours or during holiday periods.
clinicians who cover for the primary care giver must be
informed about the guidelines that have been established for
each patient with a history of abuse. Again, the restrictions
should be made more or less stringent based on the level of
concern about aberrant behaviors.

Some patients are so concerned about the potential for
addiction or readdiction that compliance with therapy is
threatened. It is ironic that some patients actually prefer rigid
guidelines because of an enhanced sense of control over
drugs. In discussing the need for compliance, it is also impor-
tant to have the patient realize that there is a risk of readdic-
tion associated with uncontrolled pain or other symptoms.
Counseling can also help patients identify possible triggers to
drug and alcohol abuse that they may encounter during treat-
ment and develop strategies for avoiding illicit drug use or
uncontrolled use of prescribed drugs at those times.

Treatment of Comorbid Psychiatric Disorders

Psychiatric comorbidity, including personality disorders
(e.g., borderline, antisocial), depression, and anxiety disor-
ders, is relatively high in patients with substance abuse histo-
ries (28). The treatment of anxiety and depression can
increase the patient’s comfort and possibly diminish the like-
lihood of relapse. For these reasons, early psychiatric consul-
tation should be considered when significant psychiatric
impairment is observed,

The Role of Drug Recovery Programs

Some patients can be referred to a drug recovery program
as a means to curtail drug abuse during treatment for pain.
Patients can document their attendance at groups to further
reassure the clinician about the effort to comply with therapy.
Patients who enter a program and are given a sponsor may
allow the physician or designee to contact the sponsor, who
may also help support the clinical plan. This type of contact
also helps to prevent the patient's ostracism by others in the
program if controlled prescription drugs are needed.

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Pain Physician 2012; 15:S67-S116 © ISSN 1533-3159

ASIPP - Opioid Guidelines 2012

American Society of Interventional Pain
Physicians (ASIPP) Guidelines for Responsible
Opioid Prescribing in Chronic Non-Cancer Pain:
Part 2 - Guidance

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Results:
From: American Society Part 2 of the guidelines on responsible opioid prescribing provides the following recommendations for
of Interventional Pain initiating and maintaining chronic opioid therapy of 90 days or longer.

Physicians 1. A) Comprehensive assessment and documentation is recommended before initiating opioid

Complete author therapy, including documentation of comprehensive history, general medical condition,

affiliations and disclosures psychosocial history, psychiatric status, and substance use history. (Evidence: good)
listed on pages S98-S100. B) Despite limited evidence for reliability and accuracy, screening for opioid use is recommended,
as it will identify opioid abusers and reduce opioid abuse. (Evidence: limited)
Address ee C) Prescription monitoring programs must be implemented, as they provide data on patterns of
8 Lakeview Drive prescription usage, reduce prescription drug abuse or doctor shopping. (Evidence: good to fair)
Paducah, Kentucky 42003 D) Urine drug testing (UDT) must be implemented from initiation along with subsequent
E-mail: asipp@asipp.org adherence monitoring to decrease prescription drug abuse or illicit drug use when patients

ao. are in chronic pain management therapy. (Evidence: good)
Disclaimer: The authors . . : : ‘ : : . .

are solely responsible for | 2: A) Establish appropriate physical diagnosis and psychological diagnosis if available prior to
the content of this article. initiating opioid therapy. (Evidence: good)
No statement in this article B) Caution must be exercised in ordering various imaging and other evaluations, interpretation
should be construed as an and communication with the patient; to avoid increased fear, activity restriction, requests for

official position of ASIPP. . ; ; : 5 .

increased opioids, and maladaptive behaviors. (Evidence: good)

Manuscript received: C) Stratify patients into one of the 3 risk categories — low, medium, or high risk.
06/22/2012 D) Apain management consultation, may assist non-pain physicians, if high-dose opioid therapy
Accepted for publication: is utilized. (Evidence: fair)
e/eajaou 3. Essential to establish medical necessity prior to initiation or maintenance of opioid therapy.
Free full manuscript: (Evidence: good)
www.painphysicianjournal. 4. Establish treatment goals of opioid therapy with regard to pain relief and improvement in function.
com (Evidence: good)

5. A) Long-acting opioids in high doses are recommended only in specific circumstances with
severe intractable pain that is not amenable to short-acting or moderate doses of long-acting
opioids, as there is no significant difference between long-acting and short-acting opioids for
their effectiveness or adverse effects. (Evidence: fair)

B) The relative and absolute contraindications to opioid use in chronic non-cancer pain must be
evaluated including respiratory instability, acute psychiatric instability, uncontrolled suicide
risk, active or history of alcohol or substance abuse, confirmed allergy to opioid agents,

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Table 2 (cont.). Drug cross-reactants.

Drug Group

Cross Reactivity Based on Product Insert

Cross Reactivity Based on Potential Cross-Reaction

Barbiturates

Alphenal

Phenytoin (Dilantin)
Primidone (Mysoline)

Source: DrugCheck* Cross Reactivity Chart (www.drugcheck.com/_images/DC145_Cross-Reactivity_chart.pdf)

Table 3. Interpreting unexpected results of urine drug screens.

Unexpected Result | Possible Explanations

UDS positive for non-
prescribed opioid or
benzodiazepines.

« False positive.
« Patient acquired opioids from other
sources (double doctoring, “street”).

Urine creatinine is + Patient added water to sample.
lower than 2-3 mmol/

liter.

UDS=urine drug screen; THC=Tetrahydrocannabinol; CBD=cannabidiol

Actions for the Physician

+ Repeat UDS regularly.

« Ask the patient if they accessed opioids from other sources.
« Assess for opioid misuse/addiction.

+ Review/revise treatment agreement.

« Repeat UDS.

« Consider supervised collection or temperature testing.

« Take a detailed history of the patient's medication use for the
preceding 7 days.

« Review/revise treatment agreement.

Source: Canadian Guideline for Safe and Effective Use of Opioids for Chronic Non-Cancer Pain® 2010 National Opioid Use Guideline Group
(NOUGG) (54).

ing fail to detect problems with drug misuse and
abuse (53). Creating a UDT policy that is applicable
universally and consistently with all patients as-
sists to “de-stigmatize” UDT and can potentially
convince patients that it has nothing to do with an
individual patient or their trustworthiness (53,54).
Consequently, the practice can explain to patients
that drug testing is a routine procedure for all pa-
tients starting or maintained on opioid therapy and
it is an important tool for monitoring the safety of

opioid therapy. The UDT not only provides adher-
ence monitoring, but it is also a monitoring tool for
safety.

As it is very difficult to correlate urine drug concen-
tration with a patient's dose, it is not feasible for
the physician to ascertain whether or not a patient
has taken the dose of opioid appropriately using
UDT. UDT can, however, detect the parent drug
and/or its metabolites and demonstrate recent use
of prescribed drugs and illegal substances. UDT will

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VA/DoD CLINICAL PRACTICE GUIDELINE FOR
OPIOID THERAPY FOR CHRONIC PAIN

Department of Veterans Affairs

Department of Defense

QUALIFYING STATEMENTS

The Department of Veterans Affairs and the Department of Defense guidelines are based upon the best
information available at the time of publication. They are designed to provide information and assist
decision making. They are not intended to define a standard of care and should not be construed as one.
Neither should they be interpreted as prescribing an exclusive course of management.

This Clinical Practice Guideline is based on a systematic review of both clinical and epidemiological
evidence. Developed by a panel of multidisciplinary experts, it provides a clear explanation of the logical
relationships between various care options and health outcomes while rating both the quality of the
evidence and the strength of the recommendation.

Variations in practice will inevitably and appropriately occur when clinicians take into account the needs of
individual patients, available resources, and limitations unique to an institution or type of practice. Every
healthcare professional making use of these guidelines is responsible for evaluating the appropriateness of
applying them in the setting of any particular clinical situation.

These guidelines are not intended to represent TRICARE policy. Further, inclusion of recommendations for
specific testing and/or therapeutic interventions within these guidelines does not guarantee coverage of
civilian sector care. Additional information on current TRICARE benefits may be found at www.tricare.mil
or by contacting your regional TRICARE Managed Care Support Contractor.

Version 3.0 — 2017

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VA/DoD Clinical Practice Guideline for Opioid Therapy for Chronic Pain

e Co-administration of a drug capable of inducing fatal drug-drug interactions: Providers should
carefully rule out and avoid potential drug interactions prior to initiating LOT. For example, the
following combinations are dangerous:[66]

= Opioids with benzodiazepines (compared to patients with no prescription, the odds ratio
[OR] and 95% confidence interval [Cl] for drug-related death was OR: 14.92, 95% Cl: 7.00-
31.77 for patients who filled a prescription for opioids and benzodiazepines; OR: 3.40, 95%
Cl: 1.60-7.21 for patients who filled only an opioid prescription, and 7.21, 95% Cl: 3.33-15.60
for patients who filled only a benzodiazepine prescription) (see Recommendation 5) [66,67]

= Fentanyl with CYP3A4 inhibitors

= Methadone with drugs that can prolong the QT interval (the heart rate’s corrected time
interval from the start of the Q wave to the end of the T wave) (e.g., CYP450 2B6 inhibitors)

e QTc interval >450 ms for using methadone: Unlike most other commonly used opioids,
methadone has unique pharmacodynamic properties that can prolong the QTc interval (the
heart rate’s corrected time interval from the start of the Q wave to the end of the T wave) and
precipitate torsades de pointes, a dangerous or fatal cardiac arrhythmia. Patients who may be at
risk include those with other risk factors for QTc prolongation, current or prior
electrocardiograms (ECGs) with a prolonged QTc >450 ms, or a history of syncope. Therefore,
ECGs before and after initiating methadone are highly advised (see Methadone Dosing
Guidance).

e Evidence for or history of diversion of controlled substances: The clinician should communicate
to patients that drug diversion is a crime and constitutes an absolute contraindication to
prescribing additional medications. Because suspicion is subjective and may be based on
impression, bias, or prejudice, it is important that providers who suspect diversion base
treatment plans on objective evidence. Suspicions may be confirmed by a negative mass
spectrometry/liquid chromatography UDT for the substance being prescribed in the absence of
withdrawal symptoms in someone who is receiving opioids. A negative UDT for the prescribed
opioid could also by itself be a sign of diversion. Signs of diversion may also include frequent
requests for early refills or atypically large quantities required to control pain. Routine UDT,
however, may not reliably detect synthetic opioids (e.g., methadone, fentanyl, tramadol) or
semi-synthetic opioids (e.g., oxycodone, hydrocodone, hydromorphone). When there is
evidence that the patient is diverting opioids, discontinue opioids according to
Recommendations 14 and 15 and assess for underlying OUD and/or psychiatric comorbidities.
Consultation with a pain specialist, psychiatrist, or SUD specialist may be warranted. Also
consider consultation with local risk management and/or counsel. Dr pe

e Intolerance, serious adverse effects, or a history of inadequate beneficial response to opioids:
Serious harm may occur should patients be prescribed additional (or different) opioids if prior
administration of opioids led to serious adverse effects or was not tolerated. It is also
inadvisable to prescribe opioids to patients who already have had an adequate opioid trial (of

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